Case: 1:19-cv-01610 Document #: 182 Filed: 09/08/20 Page 1 of 1 PageID #:2192

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Christopher Moehrl, et al.
                                                Plaintiff,
v.                                                            Case No.: 1:19−cv−01610
                                                              Honorable Andrea R. Wood
The National Association of Realtors, et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 8, 2020:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
set for 10/2/2020 9:30 AM. To ensure public access to court proceedings, members of the
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557−8511 and the access code is 3547847. Counsel of record will receive an email 30
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Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice (dal, )




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